Case 3:17-cv-00101-RDM Document 558 Filed 01/13/21 Page 1 of 1

THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CONSUMER FINANCIAL
PROTECTION BUREAU,
Plaintiff,
: 3:17-CV-101
V. : (JUDGE MARIANI)

NAVIENT CORPORATION, et al.,
Defendants.
ORDER
AND NOW, THIS _/ hh DAY OF JANUARY, 2021, for the reasons set forth

in the Court’s accompanying memorandum opinion, Defendants’ Motion for Judgment on

the Pleadings (Doc. 504) is DENIED. _——

FU Mt hier
Robert D. Mariani
United States District Judge
